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 6                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 7                                         AT TACOMA

 8
     UNITED STATES OF AMERICA,
 9
                              Plaintiff,                    No. 3:18-cv-5922
10
                     v.
                                                            COMPLAINT
11
     HEIDI CONWAY, also known as
12        HEIDI BOMHOFF,

13                            Defendant.

14
            Plaintiff, the United States of America, by and through its undersigned attorneys, brings
15
     this complaint against Defendant HEIDI CONWAY, also known as HEIDI BOMHOFF, and
16
     alleges the following:
17
                                       I. NATURE OF THIS ACTION
18
            1.       Starting as early as 2013 and continuing to the present, Defendant has conducted
19
     financial transactions with large sums of illegally obtained money, knowing that her
20
     transactions are designed to conceal the nature, source, location, ownership, and control of
21
     proceeds. Defendant’s conduct includes knowingly receiving money obtained via fraud and
22
     then immediately transmitting the same money to accomplices. Defendant has transmitted
23
     money to and from accomplices in Ghana, Nigeria, Germany, Canada, and the United States.


      COMPLAINT - 1                                                        UNITED STATES ATTORNEY
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 1          2.       The United States seeks to prevent continuing and substantial injury to the

 2   United States and victims by bringing this action for a permanent injunction and other equitable

 3   relief under 18 U.S.C. § 1345. The United States seeks to enjoin the ongoing commission of

 4   banking law violations as defined in 18 U.S.C. § 3322(d), including money laundering in

 5   violation of 18 U.S.C. § 1956(a)(1)(B), international money laundering in violation of 18

 6   U.S.C. § 1956(a)(2)(B), and structuring cash transactions to evade transaction reporting

 7   requirements in violation of 31 U.S.C. § 5324(a).

 8                                  II. JURISDICTION AND VENUE

 9          3.       This Court has jurisdiction over this action under 18 U.S.C. § 1345 and 28

10   U.S.C. §§ 1331 and 1345.

11          4.       The United States District Court for the Western District of Washington is a

12   proper venue for this action under 28 U.S.C. § 1391(b)(1) & (b)(2) because Defendant is a

13   resident of this district and because a substantial part of the events or omissions giving rise to

14   this Complaint occurred in this district.

15                                               III. PARTIES
16          5.       Plaintiff is the United States.
17          6.       Defendant Heidi Conway, also known as Heidi Bomhoff, is a resident of this
18   district, residing in Aberdeen, Washington. In connection with the matters alleged herein,
19   Defendant transacts and has transacted business in this district.
20                                                IV. FACTS
21                            A. Defendant’s Ongoing Banking Law Violations
22          7.       Defendant conducts financial transactions to benefit one or more international
23   fraud schemes, knowing that the money she receives and transmits are obtained fraudulently,



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 1   knowing that her transactions are designed to conceal the schemes, and structuring her cash

 2   transactions in an effort to prevent the filing of required financial transaction reports.

 3   Defendant receives financial compensation for this conduct, often by transmitting to her

 4   accomplices slightly smaller amounts than she receives and keeping the difference for herself.

 5      (1) Money laundering and international money laundering

 6          8.       Beginning at least as early as 2013, Defendant has knowingly and willingly

 7   accepted hundreds of thousands of dollars from multiple sources and then transmitted most of

 8   that money to accomplices.

 9          9.       During 2013 alone, Defendant transmitted tens of thousands of dollars, in

10   dozens of transmissions, to accomplices in Ghana and Nigeria.

11          10.      Starting at least as early as 2015, Defendant began accepting money, totaling in

12   the hundreds of thousands of dollars, from accomplices in Canada. From 2015 through at least

13   2017, Defendant continued transmitting money (received from accomplices in Canada and

14   elsewhere) to Ghana and Nigeria. Beginning at least as early as 2017, Defendant has also been

15   transmitting money to accomplices in the United States and Germany.

16          11.      From at least as early as November 2017 through at least as late as August 2018,

17   Defendant received over $120,000 in wire transfers from an accomplice in Canada—an average

18   of approximately $12,000 per month.

19          12.      Defendant has typically retained a portion of the money from each transmission

20   as remuneration for her services.

21      (2) Using third party’s name to conceal

22          13.      From at least as early as November 2017 and through at least as late as August

23   2018, Defendant has caused a Canadian accomplice to send more than a dozen international



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 1   wires, totaling over $120,000, for deposit into an account held in the name of one of

 2   Defendant’s relatives.

 3          14.      The international wires into this account specifically designate the beneficiary

 4   by name as Defendant’s relative. Although the wires designate Defendant’s relative as the

 5   beneficiary, the moneys are intended, in truth and fact, to be accessed by Defendant and

 6   promptly transmitted to her accomplices.

 7      (3) Structuring

 8          15.      Defendant engaged in conduct designed to cause domestic financial institutions

 9   to fail to file a report required under 31 U.S.C. § 5313(a), and the regulations promulgated

10   thereunder. Defendant repeatedly caused and attempted to cause her cash withdrawals, and

11   those of her relative, to be structured in amounts designed to avoid this transaction reporting

12   requirement.

13          16.      For example, on June 1, 2017, $25,000 was wired into an account controlled by

14   Defendant. On three consecutive business days, Defendant withdrew (or caused her relative to

15   withdraw) the same $25,000 in three cash withdrawals under or precisely at the $10,000

16   reporting threshold: a cash withdrawal of $5,000 the same day the incoming wire was

17   deposited; a second cash withdrawal the second business day of precisely $10,000; and a third

18   cash withdrawal on the third business day, again for precisely $10,000.00.

19       B. Defendant’s Knowledge of Fraud, Intent to Conceal the Nature, Source, Location,
             Ownership, or Control of Proceeds, and Intent to Evade Transaction Reporting
20                                          Requirements

21          17.      On information and belief, Defendant has engaged in the financial transactions

22   alleged in Paragraphs 7 through 16 with the knowledge that the moneys she receives from and

23   transmits to accomplices are obtained by fraud schemes or other specified unlawful activity.



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 1          18.      On information and belief, Defendant has engaged in the financial transactions

 2   alleged in Paragraphs 7 through 16 with the intent to conceal the nature, source, location,

 3   ownership, or control of proceeds.

 4          19.      On information and belief, Defendant has engaged in the financial transactions

 5   alleged in Paragraphs 15 and 16 with the intent to evade transaction reporting requirements.

 6                                      C. Harm to the United States

 7          20.      The United States is suffering continuing and substantial injury from

 8   Defendant’s banking law violations.

 9          21.      Defendant is continuing to facilitate her banking law violations. Absent

10   injunctive relief by this Court, Defendant will continue to cause continuing and substantial

11   injury to the United States and victims.

12                                              COUNT I
                                  (18 U.S.C. § 1345 – Injunctive Relief)
13
            22.      The United States re-alleges and incorporates by reference Paragraphs 1 through
14
     21 of this Complaint as though fully set forth herein.
15
            23.      By reason of the conduct described herein, Defendant has committed, is
16
     committing, and is about to commit banking law violations as defined in 18 U.S.C. § 3322(d),
17
     including money laundering with intent to conceal in violation of 18 U.S.C. § 1956(a)(1)(B)(i),
18
     money laundering with intent to evade transaction reporting requirements in violation of
19
     18 U.S.C. § 1956(a)(1)(B)(ii), international money laundering with intent to conceal in
20
     violation of 18 U.S.C. § 1956(a)(2)(B)(i), international money laundering with intent to evade
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     transaction reporting requirements in violation of 18 U.S.C. § 1956(a)(2)(B)(ii), and structuring
22
     cash transactions to evade transaction reporting requirements in violation of 31 U.S.C. § 5324.
23



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 1             24.    Because Defendant is committing or about to commit banking law violations as

 2   defined in 18 U.S.C. § 3322(d), the United States is entitled, under 18 U.S.C. § 1345, to seek a

 3   permanent injunction restraining all future banking law violations and any other action that this

 4   Court deems just to prevent a continuing and substantial injury to the United States.

 5             25.    As a result of the foregoing, Defendant’s conduct should be enjoined pursuant to

 6   18 U.S.C. § 1345.

 7                                      VI. PRAYER FOR RELIEF

 8             WHEREFORE, Plaintiff, United States of America, requests of the Court the following

 9   relief:

10             A.     That the Court issue a permanent injunction, pursuant to 18 U.S.C. § 1345,

11   ordering that Defendant is restrained from engaging, participating, or assisting in money

12   laundering, international money laundering, structuring transactions to evade transaction

13   reporting requirements, and any money transmitting business; and

14             B.     That the Court order such other and further relief as the Court shall deem just

15   and proper.

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 2         Respectfully submitted this 13th day of November, 2018.

 3                                            ANNETTE HAYES
                                              United States Attorney
 4
                                              s/ Kayla C. Stahman
 5                                            KAYLA C. STAHMAN, CA #228931
                                              Assistant United States Attorney
 6                                            United States Attorney’s Office
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 9
                                              GUSTAV W. EYLER
10                                            Acting Director
                                              Consumer Protection Branch
11
                                              /s/ Daniel K. Crane-Hirsch
12                                            Daniel K. Crane-Hirsch
                                              Consumer Protection Branch
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                                              Counsel for United States of America
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 1                                        CERTIFICATE OF SERVICE

 2          The undersigned hereby certifies that he is an employee in the Office of the United

 3   States Attorney for the Western District of Washington and is the person of such age and

 4   discretion as to be competent to serve papers;

 5          It is further certified that on this day, I mailed by United States Postal Service said

 6   pleading to Defendant, addressed as follows:

 7          Heidi Conway
            4427 Wishkah Rd.
 8          Aberdeen, WA 98520

 9          Dated this 13th day of November, 2018.

10                                                  /s/ Thomas Everett
                                                    THOMAS EVERETT
11                                                  Paralegal
                                                    United States Attorney’s Office
12                                                  700 Stewart Street, Suite 5220
                                                    Seattle, Washington 98101-1271
13                                                  Phone: (206) 553-2262
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